           Case 1:12-cv-00862-LY Document 40 Filed 11/15/12 Page 1 of 1
                              .                                      iIJ




                                                                                  FILED
                             iN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS                  NOV 15201?
                                        AUSTiN DIVISION
                                                                            CLsc/CouRT
                                                                                LW
UNITED STATES COMMODITY                         §                           BY
                                                                                           F rExAs
FUTURES TRADING COMMISSION,                     §                                          V DEPUTY
                                                §
                      Plaint ff                 §
                                                §
v.                                              §          Civil Action No. A-12-CV-0862-LY
                                                §
SENEN POUSA, INVESTMENT                         §
INTELLIGENCE CORPORATION,                       §
DBA PROPHETMAX MANAGED FX,                      §
JOEL FRIANT, MICHAEL DILLARD, and               §
ELEVATION GROUP, INC.,                          §
                                                §
                      Defendants.               §

                  ORDER GRANTING RECEIVER'S UNOPPOSED
           MOTION FOR APPROVAL OF FIRST INTERIM FEE APPLICATION

         Before the Court is the Receiver's Unopposed Motion for Approval of First Interim Fee

Application and Brief in Support ("Motion").        Having considered the Motion, the evidence

presented, and arguments of counsel, if any, the Court finds that the time spent, services

performed, hourly rates charged, and expenses incurred by the Receiver and his retained

professionals were reasonable and necessary for the Receiver to perform his Court-ordered

duties. The Court concludes that the Motion should be, and is hereby, GRANTED.

         It is therefore ORDERED that payment in the amount of        $ cId                   for
        4.'    /9e(i$               /.144''
services rendered4rom September 18, 2012 through September 30, 2012 is approved.

         SIGNED this/J'f            day of                         ,2012.




                                                     LEE   AKEL
                                                     UNTIED STATE          ISTRI T JUDGE


ORDER GRANTING REcEIvER's UNOPPOSED MOTION
FOR APPROVAL OF FIRST INTERIM FEE APPLICATION
